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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF MARYLAND
                               (Northern Division)
In re                                   *

G. WARE TRAVELSTEAD                            *       Case No. 96-54979-DWK
                                                       (Chapter 11)
         Debtor.                               *
*        *     *       *      *       *        *

EXTRA SPACE MANAGEMENT, INC., *

                       Movant,                 *

v.                                             *

G. WARE TRAVELSTEAD              *
and
JOEL I. SHER, LIQUIDATING AGENT, *

                       Respondents.            *
*        *     *       *     *      *          *       *      *      *      *       *

                   NOTICE OF MOTION FOR RELIEF FROM
               THE AUTOMATIC STAY AND HEARING THEREON

         Extra Space Management, Inc. (“Movant”) has filed papers with the Court seeking
relief from the automatic stay of 11 U.S.C. § 362(a) to enforce its non-bankruptcy
remedies with respect to three storage space lease agreements with the Debtor and/or the
Debtor’s business entities, i.e., The Travelstead Group, Inc. and Venture Concept, entitled
Storage USA Rental Agreement and to enforce its lien on property located in the rented
storage space. Movant is also seeking to terminate these agreements and have the
Liquidating Agent, i.e., Joel I. Sher, remove all personal property from the Storage Space.
Your rights may be affected. You should read these papers carefully and discuss them
with your lawyer, if you have one in this bankruptcy case. If you do not have a lawyer,
you may wish to consult one.

        If you do not want the Court to grant the motion for relief from stay, or if you want
the Court to consider your views on the motion, then by November 26, 2007, you or your
lawyer must file a written response with the Clerk of the Bankruptcy Court explaining
your position and mail a copy to Mary Fran Ebersole, Esquire, Tydings & Rosenberg LLP,
100 East Pratt Street, 26th Floor, Baltimore, Maryland 21202. If you mail rather than
deliver your response to the Clerk of the Bankruptcy Court for filing, you must mail it
early enough so that the Court will receive it by the date stated above.




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        The hearing is scheduled for December 19, 2007, at 1:30 p.m. in Courtroom 1B,
United States Bankruptcy Court for the Northern District of Maryland, 101 West Lombard
Street, Baltimore, Maryland 21201.

     IF YOU OR YOUR LAWYER DO NOT TAKE THESE STEPS BY THE
DEADLINE, THE COURT MAY DECIDE THAT YOU DO NOT OPPOSE THE
RELIEF SOUGHT IN THE MOTION AND MAY GRANT OR OTHERWISE DISPOSE
OF THE MOTION BEFORE THE SCHEDULED HEARING DATE.


Date: November 7, 2007                    /s/ Mary Fran Ebersole
                                          Mary Fran Ebersole, Bar No. 08729
                                            Tydings & Rosenberg LLP
                                            100 East Pratt Street, 26th Floor
                                            Baltimore, Maryland 21202
                                            (410) 752-9700
                                            mebersole@tydingslaw.com

                                          Attorneys for Movant, Extra Space
                                          Management, Inc.




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